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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                           Plaintiffs,
                                                                  No. 24-mc-353 (LJL)
v.

RUDOLPH W. GIULIANI,

                           Defendant.


                       [DEFENDANT’S PROPOSED] ORDER

     It is hereby ORDERED as follows:

     1. Plaintiffs’ motion for appointment of a receiver over Defendant’s interest in the

        condominium located at 315 South Lake Drive, Apartment 5D, Palm Beach, Florida                Deleted: apartment
                                                                                                      Deleted:
        (the “Palm Beach Condo”) is DENIED.                                                           Deleted: ,
                                                                                                      Deleted: ,
     2. It is further ORDERED, pending entry of final judgment in Freeman v. Giuliani, No.
                                                                                                      Deleted: GRANTED

        24-cv-6563 (S.D.N.Y.) (the “Homestead Action”), as follows:                                   Deleted: ¶
                                                                                                      Deleted: It is further ORDERED that the Palm Beach
                                                                                                      Condo is included among the property subject to the
            a. Defendant shall be permitted to reside in the Palm Beach Condo pending final           Receivership Order (ECF No. 62), effective immediately.
                                                                                                    Formatted
               judgment in the Homestead Action, but Defendant is hereby ENJOINED that
                                                                                                      Deleted: ¶
               he shall not sell, dispose of, transfer, will, lease, assign, sub-lease, encumber,     Deleted: Plaintiffs, in their capacities as Receivers
                                                                                                      pursuant to the Receivership Order, shall have no power
                                                                                                      to sell the Palm Beach Condo, notwithstanding anything
               or grant any right of tenancy or occupation of any kind, contingent or otherwise,      in the Receivership Order to the contrary. The terms of
                                                                                                      this subparagraph 3(a) shall dissolve immediately upon
                                                                                                      entry of final judgment in Plaintiffs’ favor in the
               to any person or entity, or attempt to do any of the foregoing, or take any action     Homestead Action.…
                                                                                                        Deleted: occupy
               that would diminish the value of the Palm Beach Condo. If the Court enters
                                                                                                        Deleted:
               final judgment in Plaintiffs’ favor in the Homestead Action, then Defendant              Deleted: shall have no right to and


               shall vacate and surrender occupancy and possession of the Palm Beach Condo

               on a date to be fixed by the Court.                                                      Deleted: to Plaintiffs, subject to the terms of the
                                                                                                        Receivership Order, within 15 days of entry of final
                                                                                                        judgment in Plaintiffs’ favor in the Homestead Action.
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            b. At all times prior to any such surrender, Defendant shall cause all applicable             Deleted: Defendant’s
                                                                                                          Deleted:
               maintenance fees, taxes, insurance premiums, and other ordinary and necessary              Deleted: of possession under subparagraph 3(b)
                                                                                                          Deleted: reasonable
               expenses associated with the Palm Beach Condo to be paid in full out of assets

               that are exempt from execution under CPLR § 5206. Defendant shall cause                    Deleted:
                                                                                                          Deleted: otherwise
               adequate insurance policies to be in force with respect to the Palm Beach Condo

               at all times. While this subparagraph is in effect, on or before the 10th day after        Deleted: 3(c)
                                                                                                          Deleted:
               making a payment of the kind set forth in this subparagraph, Defendant shall               Deleted: 7
                                                                                                          Deleted:
               provide Plaintiffs with written documentation demonstrating that all such fees,
                                                                                                          Deleted: of each calendar month,

               taxes, premiums, and other expenses are paid in full.                                      Deleted: serve on
                                                                                                          Deleted:
                                                               SO ORDERED                                 Deleted: and file with the Court
                                                                                                          Deleted:
                                                                                                          Deleted: , including documentary evidence (i) of the
                                                                                                          most recent such payments, (ii) of the outstanding
Dated: October __, 2024                                                                                   balances due as to each category, and (iii) that
                                                                                                          adequate insurance policies remain in force and are
       New York, New York                                 Hon. Lewis J. Liman                             paid in full
                                                          United States District Judge
                                                                                                     Deleted: .
